527 F.2d 1343
    UNITED STATES of America, Plaintiff-Appellee,v.Anthony J. ALFONSO and Andrew Alfonso, Defendants-Appellants.
    No. 74--3776
    United States Court of Appeals,Fifth Circuit.
    March 5, 1976.
    
      George J. Dowd, Chalmette, La., for defendants-appellants.
      Gerald J. Gallinghouse, U.S. Atty., Mary Williams Cazalas, Asst. U.S. Atty., New Orleans, La., Thomas E. Rickhoff, Sp. Atty., Dept. of Justice, New Orleans, La., for plaintiff-appellee.
      Before JONES, WISDOM and AINSWORTH, Circuit Judges.
      PER CURIAM:
    
    
      1
      This case arose from the same facts as did United States v. Ladd, 5th Cir. 1976, 527 F.2d 1341, decided this day. In the Ladd case this Court upheld the district court's refusal to suppress evidence obtained pursuant to a wiretap order entered by the United States District Court for the Eastern District of Louisiana.  No different disposition is required here.
    
    
      2
      The judgments and sentences of the district court are affirmed.
    
    